572 F.2d 1182
    NORTHERN OHIO LUNG ASSOCIATION and Mrs. Patricia Smith, Petitioners,v.ENVIRONMENTAL PROTECTION AGENCY and Douglas M. Costle,Administrator of Environmental Protection Agency,Respondents.
    No. 76-2282.
    United States Court of Appeals,Sixth Circuit.
    Feb. 9, 1978.
    
      Before PHILLIPS, Chief Judge, and EDWARDS and PECK, Circuit Judges.
    
    ORDER
    
      1
      On receipt and consideration of the petition of the Northern Ohio Lung Association attacking alleged deficiencies in the United States EPA's plan for control of SO 2 in Ohio; and
    
    
      2
      Noting that the United States EPA's plan as published does not appear to comply with § 110(a)(2)(F), 42 U.S.C. § 1857c-5(a)(2)(F) (1970), to be recodified as 42 U.S.C. § 7410(a)(2)(F), as required by § 110(c)(1)(B) of the Clean Air Act, 42 U.S.C. § 1857c-5(c)(1)(B) (Supp. V 1975), to be recodified as 42 U.S.C. § 7410(c)(1)(B); and
    
    
      3
      Further noting that §§ 110(a) &amp; (c) of the Act appear, as petitioner asserts, to require that the United States EPA Ohio plan for SO 2 control implement the national secondary air quality standard for SO 2 but that no specific provisions for doing so may be found in the plan,
    
    
      4
      Now, therefore, these specific aspects of the United States EPA SO 2 control plan for Ohio are hereby remanded to the United States EPA for further consideration.
    
    
      5
      Under the total circumstances concerning the United States EPA control plan for Ohio, see Cleveland Electric Illuminating Co., et al. v. EPA, 572 F.2d 1150 (6th Cir. 1978) (decided Feb. 13, 1978), we find no merit to Northern Ohio Lung Association's third issue and the same is hereby denied.
    
    